        Case 1:14-cr-00229-BLW Document 198 Filed 06/02/15 Page 1 of 2




                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

              Plaintiff,                            Case No. 1:14-cr-00229-BLW-5

JEAN ESTINVILLE,                                    ORDER ADOPTING REPORT
                                                    AND RECOMMENDATION
              Defendant.




       Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt.177). On May 12, 2015, Defendant Jean Estinville appeared

before the Magistrate Judge to enter a change of plea (pursuant to a written plea

agreement). The Magistrate Judge conducted the plea hearing and concluded there is a

factual basis for Defendant’s plea of guilty to the charges contained in Counts One and

Thirty-five of the Indictment (Dkt.1), and that it was entered voluntarily and with full

knowledge of the consequences. No objections to the Report and Recommendation have

been filed.

       The Court now has reviewed the record, and finds that the requirements of Rule 11

have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003).

Specifically, the Court finds that the Magistrate Judge adhered to the requirements of

Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was voluntary and not the

result of force or threats or promises apart from the plea agreement; and that a factual

basis for the plea exists. See id. Accordingly,


ORDER ADOPTING REPORT AND RECOMMENDATION - 1
        Case 1:14-cr-00229-BLW Document 198 Filed 06/02/15 Page 2 of 2




       NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt.177) shall be, and the same is hereby, ADOPTED as the decision

of the District Court and incorporated fully herein by reference.

       IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crimes

charged in Counts One and Thirty-Five of the Indictment (Dkt. 1), shall be, and the same

is hereby, ACCEPTED by the Court as a knowing and voluntary plea supported by an

independent basis in fact containing each of the essential elements of the offense.

       IT IS FURTHER ORDERED that Defendant Jean Estinville is found to be

GUILTY as to the applicable crimes charged in the Indictment.(Dkt. 1).

                                   DATED: June 2, 2015



                                   B. LYNN WINMILL
                                   Chief U.S. District Court Judge




ORDER ADOPTING REPORT AND RECOMMENDATION - 2
